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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SAMIRA SIERRA, AMALI SIERRA,
RICARDO NIGAGLIONI, ALEX GUTIERREZ,
and CHARLES HENRY WOOD, individually and
on behalf of all others similarly situated,

                             Plaintiffs,
       v.

CITY OF NEW YORK, a municipal entity; and                   20-cv-10291 (CM)(GWG)
Mayor BILL DE BLASIO, Chief of Department                   20-cv-10541 (CM)(GWG)
TERENCE A. MONAHAN, Assistant Chief
KENNETH C. LEHR, Inspector ROBERT
GALLITELLI, Bureau Chief HARRY WEDIN,                       NOTICE OF MOTION
Deputy Chief JOHN D’ADAMO, Deputy Chief
GERARD DOWLING, Captain JULIO
DELGADO,
Sergeant KENNETH RICE, Sergeant THOMAS
GARGUILO, Police Officer JOHN MIGLIACCIO,
and Police Officer THOMAS MOSHER, in their
individual capacities,

                              Defendants.



      PLEASE TAKE NOTICE that, upon the accompanying Declaration of Alison

Frick and the exhibit attached thereto, the Declaration of Joshua Moskovitz, the

Declaration of Michael Spiegel, the Declaration of Rob Rickner, and the accompanying

Memorandum of Law, Plaintiffs respectfully move this Court for an order:

      (1) preliminarily approving the proposed settlement terms as reflected in the

            parties’ Stipulation of Settlement and Order;

      (2) conditionally certifying the proposed class for settlement purposes pursuant

            to Fed. R. Civ. P. 23(c) and 23(e);

      (3) appointing Hamilton Clarke, LLP; Kaufman Lieb Lebowitz & Frick LLP;

            Rickner PLLC; and Michael L. Spiegel, Esq. as Class Counsel;


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      (4) approving the proposed class settlement notice procedure as reflected in the

            parties’ Stipulation of Settlement and Order;

      (5) appointing Rust Consulting, Inc. as Class Administrator; and

      (6) granting any other relief the Court deems just and proper.



      PLEASE TAKE FURTHER NOTICE that Defendants do not oppose this

motion.



Dated: February 28, 2023



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                                                Attorneys for Plaintiffs and Proposed
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